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                 UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,              Case No. 2:08-cr-00417-04-MCE

          Plaintiff,
     v.                                ORDER FOR RELEASE OF PERSON
                                       IN CUSTODY
MARIO SARRANO-ABURTO,

          Defendant.
___________________________/

TO: THE UNITED STATES MARSHAL SERVICE.

     This is to authorize and direct you to release

MARIO SARRANO-ABURTO, Case No. 2:08-cr-00417-04-MCE, from custody

for the following reasons:

                       Release on Personal Recognizance

                       Bail Posted in the Sum of $

                       Unsecured Appearance Bond

          ____         Appearance Bond with 10% Deposit

                       Appearance Bond with Surety

          ____         Corporate Surety Bail Bond

             X         (Other): Pursuant to the Court’s Order and

                       Judgment of time served.


Issued in Sacramento, California on February 23, 2012.

                                        Dated: February 23, 2012


                                        ____________________________
                                        MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
